 Case 1:08-cr-00002-GNS Document 51 Filed 11/19/08 Page 1 of 2 PageID #: 100




                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF KENTUCKY
                            AT BOWLING GREEN

                  CRIMINAL ACTION NO. 1:08CR-00002-TBR-(3)

UNITED STATES OF AMERICA                                                      PLAINTIFF

VS.

FRED ENNIS, JR.                                                             DEFENDANT


                        REPORT AND RECOMMENDATION
                         CONCERNING PLEA OF GUILTY


       The Defendant, by consent, has appeared before me pursuant to Rule 11, Federal

Rules of Criminal Procedure, and has entered a plea of guilty to Count Three of the

Three-Count Indictment. After cautioning and examining the Defendant under oath

concerning each of the subjects mentioned in Rule 11, I determined that the guilty plea

was knowledgeable and voluntary and that the offense charged is supported by an

independent basis in fact containing each of the essential elements of such offense. I,

therefore, recommend that the plea of GUILTY be accepted and that the Defendant be

adjudged GUILTY and have sentence imposed accordingly.

       ENTERED this November 19, 2008
 Case 1:08-cr-00002-GNS Document 51 Filed 11/19/08 Page 2 of 2 PageID #: 101




                                        NOTICE

       Failure to file written objections to this Report and Recommendation within (10)

days from the date of its service shall bar an aggrieved party from attacking such Report

and Recommendation before the assigned United States District Judge.

28 U.S.C. 636(b)(1)(B).

       Date of Service: November 19, 2008




Copies to:    Counsel of Record
              US Marshal
              US Probation
              Ms. Kelly Harris, Case Manager




                                            -2-
